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                      EXHIBIT A
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                         ORDER OF THE COMMISSIONER
                        OF HEALTH AND MENTAL HYGIENE
                     TO REQUIRE COVID-19 VACCINATION FOR
                          DEPARTMENT OF EDUCATION
                     EMPLOYEES, CONTRACTORS, AND OTHERS


        WHEREAS, on March 12, 2020, Mayor Bill de Blasio issued Emergency Executive Order
No. 98 declaring a state of emergency in the City to address the threat posed by COVID-19 to the
health and welfare of City residents, and such order remains in effect; and
       WHEREAS, on March 25, 2020, the New York City Commissioner of Health and Mental
Hygiene declared the existence of a public health emergency within the City to address the
continuing threat posed by COVID-19 to the health and welfare of City residents, and such
declaration and public health emergency continue to be in effect; and
       WHEREAS, pursuant to Section 3.01(d) of the New York City Health Code (“Health
Code”), the existence of a public health emergency within the City as a result of COVID-19, for
which certain orders and actions are necessary to protect the health and safety of the City of New
York and its residents, was declared; and
        WHEREAS, pursuant to Section 558 of the New York City Charter (the “Charter”), the
Board of Health may embrace in the Health Code all matters and subjects to which the power and
authority of the Department of Health and Mental Hygiene (the “Department”) extends; and
       WHEREAS, pursuant to Section 556 of the Charter and Section 3.01(c) of the Health
Code, the Department is authorized to supervise the control of communicable diseases and
conditions hazardous to life and health and take such actions as may be necessary to assure the
maintenance of the protection of public health; and
        WHEREAS, the U.S. Centers for Disease Control (“CDC”) reports that new variants of
COVID-19, identified as “variants of concern” have emerged in the United States, and some of
these new variants which currently account for the majority of COVID-19 cases sequenced in New
York City, are more transmissible than earlier variants; and
       WHEREAS, the CDC has stated that vaccination is an effective tool to prevent the spread
of COVID-19 and benefits both vaccine recipients and those they come into contact with, including
persons who for reasons of age, health, or other conditions cannot themselves be vaccinated; and
        WHEREAS New York State has announced that, as of September 27, 2021 all healthcare
workers in New York State, including staff at hospitals and long-term care facilities, including
nursing homes, adult care, and other congregate care settings, will be required to be vaccinated
against COVID-19 by Monday, September 27; and
       WHEREAS, section 17-104 of the Administrative Code of the City of New York directs
the Department to adopt prompt and effective measures to prevent the communication of infection
diseases such as COVID-19; and
      WHEREAS, in accordance with section 17-109(b) of such Administrative Code, the
Department may adopt vaccination measures in order to most effectively prevent the spread of
communicable diseases; and
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          WHEREAS, pursuant to Section 3.07 of the Health Code, no person “shall do or assist in
any act which is or may be detrimental to the public health or to the life or health of any individual”
or “fail to do any reasonable act or take any necessary precaution to protect human life and health;”
and
       WHEREAS, the CDC has recommended that school teachers and staff be “vaccinated as
soon as possible” because vaccination is “the most critical strategy to help schools safely resume]
full operations… [and] is the leading public health prevention strategy to end the COVID-19
pandemic;” and
        WHEREAS the New York City Department of Education (“DOE”) serves approximately
1 million students across the City, including students in the communities that have been
disproportionately affected by the COVID-19 pandemic and students who are too young to be
eligible to be vaccinated; and
     WHEREAS, a system of vaccination for individuals working in school settings or other
DOE buildings will potentially save lives, protect public health, and promote public safety; and
        WHEREAS, pursuant to Section 3.01(d) of the Health Code, I am authorized to issue
orders and take actions that I deem necessary for the health and safety of the City and its residents
when urgent public health action is necessary to protect the public health against an existing threat
and a public health emergency has been declared pursuant to such section; and
        WHEREAS, on July 21, 2021, I issued an order requiring staff in public healthcare and
clinical settings to demonstrate proof of COVID-19 vaccination or undergo weekly testing; and
       WHEREAS, on August 10, 2021, I issued an order requiring staff providing City operated
or contracted services in residential and congregate settings to demonstrate proof of COVID-19
vaccination or undergo weekly testing;
       NOW THEREFORE I, Dave A. Chokshi, MD, MSc, Commissioner of Health and Mental
Hygiene, finding that a public health emergency within New York City continues, and that it is
necessary for the health and safety of the City and its residents, do hereby exercise the power of
the Board of Health to prevent, mitigate, control and abate the current emergency, and hereby order
that:

   1. No later than September 27, 2021 or prior to beginning employment, all DOE staff must
      provide proof to the DOE that:
         a. they have been fully vaccinated; or
         b. they have received a single dose vaccine, even if two weeks have not passed since
             they received the vaccine; or
         c. they have received the first dose of a two-dose vaccine, and they must additionally
             provide proof that they have received the second dose of that vaccine within 45
             days after receipt of the first dose.

   2. All City employees who work in-person in a DOE school setting or DOE building must
      provide proof to their employer no later than September 27, 2021 or prior to beginning
      such work that:
          a. they have been fully vaccinated; or
          b. they have received a single dose vaccine, even if two weeks have not passed since
             they received the vaccine; or
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         c. they have received the first dose of a two-dose vaccine, and they must additionally
            provide proof that they have received the second dose of that vaccine within 45
            days after receipt of the first dose.

3. All staff of contractors of DOE and the City who work in-person in a DOE school setting
   or DOE building, including individuals who provide services to DOE students, must
   provide proof to their employer no later than September 27, 2021 or prior to beginning
   such work that:
       a. they have been fully vaccinated; or
       b. they have received a single dose vaccine, even if two weeks have not passed since
           they received the vaccine; or
       c. they have received the first dose of a two-dose vaccine, and they must additionally
           provide proof that they have received the second dose of that vaccine within 45
           days after receipt of the first dose.

   Self-employed independent contractors hired for such work must provide such proof to the
   DOE.

4. All employees of any school serving students up to grade 12 and any UPK-3 or UPK-4
   program that is located in a DOE building who work in-person, and all contractors hired
   by such schools or programs to work in-person in a DOE building, must provide proof to
   their employer, or if self-employed to the contracting school or program, no later than
   September 27, 2021 or prior to beginning such work that:
       a. they have been fully vaccinated; or
       b. they have received a single dose vaccine, even if two weeks have not passed since
          they received the vaccine; or
       c. they have received the first dose of a two-dose vaccine, and they must additionally
          provide proof that they have received the second dose of that vaccine within 45
          days after receipt of the first dose.

5. For the purposes of this Order:

   a.       “DOE staff” means (i) full or part-time employees of the DOE, and (ii) DOE interns
            (including student teachers) and volunteers.

   b.       “Fully vaccinated" means at least two weeks have passed after a person received a
            single dose of a one-dose series, or the second dose of a two-dose series, of a
            COVID-19 vaccine approved or authorized for use by the Food and Drug
            Administration or World Health Organization.

   c.       “DOE school setting” includes any indoor location, including but not limited to
            DOE buildings, where instruction is provided to DOE students in public school
            kindergarten through grade 12, including residences of pupils receiving home
            instruction and places where care for children is provided through DOE’s LYFE
            program.


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         d.       “Staff of contractors of DOE and the City” means a full or part-time employee,
                  intern or volunteer of a contractor of DOE or another City agency who works in-
                  person in a DOE school setting or other DOE building, and includes individuals
                  working as independent contractors.

         e.       “Works in-person” means an individual spends any portion of their work time
                  physically present in a DOE school setting or other DOE building. It does not
                  include individuals who enter a DOE school setting or other DOE location only to
                  deliver or pickup items, unless the individual is otherwise subject to this Order. It
                  also does not include individuals present in DOE school settings or DOE buildings
                  to make repairs at times when students are not present in the building, unless the
                  individual is otherwise subject to this Order.

   6. This Order shall be effective immediately and remain in effect until rescinded, subject to
      the authority of the Board of Health to continue, rescind, alter or modify this Order pursuant
      to Section 3.01(d) of the Health Code.




Dated:    August 24th, 2021                     ___________________________
                                                      Dave A. Chokshi, M.D., MSc
                                                      Commissioner




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